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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

REX CALL, JR.,                                 )
                                               )
                       Plaintiff               )
v.                                             )      1:15-cv-00319-JAW
                                               )
CHAD CURTIS, et al.,                           )
                                               )
                       Defendants              )


                                   RECOMMENDED DECISION

        On August 10, 2015, Plaintiff filed a complaint in which he named Chad Curtis and Rick

Lolbirdy as Defendants. (ECF No. 1.) Plaintiff filed with the complaint an Application to Proceed

In Forma Pauperis. (ECF No. 4.) Upon review of Plaintiff’s filings, citing Plaintiff’s failure to

submit a completed application with the required financial information, the Court ordered Plaintiff

either to pay the filing fee or to submit an Amended Application on or before September 3, 2015.

(ECF No. 5.) In the Order, the Court informed Plaintiff that if he did not comply with the Court’s

order, “the Court may issue a recommendation that this matter be dismissed for lack of prosecution.”

(Id.)

        On August 24, 2015, Plaintiff filed a second Application to Proceed In Forma Pauperis (ECF

No. 6), which contained the required information and which the Court granted on August 27, 2015.

(ECF No. 7.) In its Order of August 27, 2015, the Court ordered Plaintiff to notify the Court no later

than September 16, 2015, of his intent to proceed with this action and to acknowledge in his notice

that he understands his obligation to pay the complete filing fee as the funds become available to

him.

        Through the Order, the Court informed Plaintiff that should he fail to comply fully with the
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Order, the Court would recommend that the action be dismissed. Because Plaintiff failed to comply

with the Order, on September 25, 2015, the Court issued an Order to Show Cause. (ECF No. 8.) In

the Order, the Court established October 9, 2015, as the date by which Plaintiff was to show cause in

writing as to why he failed to comply with the Court’s order. Once again, the Court advised Plaintiff

that if he failed to show cause, his complaint could be dismissed. On October 16, the Court’s

mailing of its Order to Show Cause was returned and marked by the U.S. Postal Service as

undeliverable: “Reason: Address Not Known No Such Person at MSP.” The Court has received no

communication from Plaintiff.

         “A district court, as part of its inherent power to manage its own docket, may dismiss a case

sua sponte for any of the reasons prescribed in Fed. R. Civ. P. 41(b).” Cintron-Lorenzo v. Dep’t de

Asumtos del Consumidor, 312 F.3d 522, 526 (1st Cir. 2002) (citing Link v. Wabash R.R. Co., 370

U.S. 626, 629 – 31 (1962)). Federal Rule of Civil Procedure 41(b) authorizes the Court to dismiss an

action for a party’s failure to prosecute and failure to comply with the Court’s orders. Here, Plaintiff

has failed to comply (a) with the Court’s August 27, 2015, Order that required Plaintiff to notify the

Court of Plaintiff’s intent to proceed (ECF No. 7), and (b) with the Court’s Order to Show Cause

(ECF No. 8). Plaintiff thus has not only failed to comply with two of the Court’s orders, but insofar

as he has not notified the Court of his intent to proceed, Plaintiff has also failed to prosecute his

claim.

         Given Plaintiff’s failure to comply with the Court’s orders, his failure otherwise to prosecute

the action, and his lack of communication with the Court following the submission of his motion for

leave to proceed in forma pauperis on August 24, 2015 (ECF No. 6), dismissal is warranted.

Because Plaintiff might not have received the Order to Show Cause, I recommend that the Court

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dismiss the matter without prejudice.1



                                                         NOTICE

                 A party may file objections to those specified portions of a magistrate judge’s
         report or proposed findings or recommended decisions entered pursuant to 28 U.S.C.
         § 636(b)(1)(B) (1993) for which de novo review by the district court is sought,
         together with a supporting memorandum, within fourteen (14) days of being served
         with a copy thereof. A responsive memorandum shall be filed within fourteen (14)
         days after the filing of the objection.

                Failure to file a timely objection shall constitute a waiver of the right to de
         novo review by the district court and to appeal the district court’s order.


                                                          /s/ John C. Nivison
                                                          U.S. Magistrate Judge

Dated this 26th day of October, 2015.




1
 Although the Court’s Order to Show Cause (ECF No. 8) was returned as undeliverable, the Court’s previous Order that
required Plaintiff to notify the Court of Plaintiff’s intent to proceed (ECF No. 7) was not returned. Plaintiff thus
continues in non-compliance of the Order that he presumably received, which Order informed Plaintiff that non-
compliance could result in a recommendation for dismissal. Arguably, therefore, dismissal with prejudice could be
justified. However, despite the fact that Plaintiff was required to file his notice of intent to proceed by September 16,
2015, and has not made the filing more than a month later, because of the uncertainty of Plaintiff’s current location and as
to whether he has received all of the Court’s orders, I believe that dismissal without prejudice is appropriate to afford
Plaintiff the opportunity to reassert his claim in the event that he intended to proceed with his claim, but failed to receive
the Court’s orders.
                                                              3
